                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
  ______________________________________________________________________________

  JAKE’S BAR AND GRILL, LLC, and
  ANTONIO VITOLO,

                   Plaintiffs,
     v.

  ISABELLA CASILLAS GUZMAN,

                 Defendant.
  ______________________________________________________________________________

                     DECLARATION OF ANTONIO VITOLO
  ______________________________________________________________________________

          I, Antonio (“Tony”) Vitolo, make the following declaration under the penalty of

  perjury:

          1.    I am a white male.

          2.    I own and operate Jake’s Bar and Grill, LLC, which is a Tennessee

  limited liability company, with its principal place of business in Harriman, Roane

  County, Tennessee. Through the restaurant, I support my wife, who is Hispanic, and

  our children. As my wife, she is a 50% owner of the restaurant.

          3.    I am not a veteran of the U.S. Armed Forces.

          4.    I have owned Jake’s Bar and Grill since July 1, 2018.

          5.    When COVID-19 hit in March 2020, I closed my restaurant every day

  except weekends. During the weekends, I offered “to go” orders.




                                             1

Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 1 of 38 PageID #: 60
        6.       Because of COVID-19, my sales declined significantly. For example, I

  estimate that I lost about $35,000 in sales during the month of April 2020 alone. My

  2019 gross receipts were $589,327.64, and my 2020 gross receipts were $484,737.44.

        7.       In addition to lost sales, I have also struggled with finding workers. I

  currently have about three employees, including myself, but normally I would have

  about ten employees.

        8.       The Restaurant Revitalization Fund was announced in a press release

  on April 27, 2021. This press release encouraged restaurant owners to apply on Day

  1,    meaning        Monday,      May      3,    2021.     It    is    available      at

  https://www.sba.gov/article/2021/apr/27/sba-administrator-guzman-announces-

  application-opening-286-billion-restaurant-revitalization-fund. A copy of this press

  release is attached as Exhibit 1.

        9.       I applied for a grant from the Restaurant Revitalization Fund at

  restaurants.sba.gov on Monday, May 3, 2021. This was the first day of the application

  period.

        10.      In my application, SBA included a section called “Priority in Awarding

  Restaurant Revitalization Funds.” Attached as Exhibit 2 is that section from my

  application.

        11.      My application also included a page of SBA’s instructions dealing with

  “priority” applications. Attached as Exhibit 3 is that section from my application.




                                             2

Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 2 of 38 PageID #: 61
          12.   While I was filing out my application, SBA asked me my race and

  gender. I answered these questions honestly. Attached as Exhibit 4 is a screenshot

  of how I answered this question.

          13.   After I completed my application, I received a notification that my

  application status was “under review.” SBA also notified me that my “calculated

  award     amount”    was    $104,590.20.   I    have   attached   a    screenshot    from

  restaurant.sba.gov as Exhibit 5.

          14.   Also, after I completed my application, the next day, May 4, 2021, I

  received an email, which I am attaching as Exhibit 6. I have redacted my personal

  email address.

          15.   I reviewed and relied on a handbook prepared by SBA regarding the

  Restaurant       Revitalization    Fund.       This    handbook   is     available     at

  https://www.sba.gov/funding-programs/loans/covid-19-relief-options/restaurant-

  revitalization-fund. I have also included a copy of this handbook as Exhibit 7.

          16.   On May 7, 2021, SBA sent me an email attached here as Exhibit 8. I

  have redacted my personal email address.

          17.   If I was not white, I would be considered by SBA economically

  disadvantaged according to SBA’s definition on the application. This is because my

  net worth is less than $750,000, excluding my ownership in Jake’s Bar and Grill,

  LLC, my primary personal residence, contingent liabilities, funds invested in an

  official retirement account, or income received from Jake’s Bar and Grill, LLC that

  was reinvested in the restaurant. Also, over the preceding three years, my adjusted



                                             3

Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 3 of 38 PageID #: 62
  gross income did not exceed an average of $350,000, excluding income I reinvested in

  Jake’s Bar and Grill, LLC. Income received from. Finally, my ownership interest in

  the Jake’s Bar and Grill, my primary personal residence, and funds invested in an

  official retirement account do not exceed $6 million.

        18.    SBA has treated me differently because of my race. If I was not white,

  my application would be reviewed and my grant awarded during the 21-day priority

  period.

        19.    SBA also treated me differently because of my gender. If I was not a

  male, my application would be reviewed and my grant awarded during the 21-day

  priority period.

        20.    I do not want special treatment, but I just want to be treated equally

  under the law.

        21.    This is especially offensive to me because I am being treated differently

  because of my race and sex. I am opposed to race and sex discrimination, and I would

  hope my government lived up to the same principle.

        22.    My wife is a member of a restaurant owners Facebook Group. Based on

  my review of messages on that group, certain minority and women restaurant owners

  are posting documents showing they have been funded by the Restaurant

  Revitalization Fund.




                                            4

Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 4 of 38 PageID #: 63
        I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct.


  Dated: ____________________                   __________________________________
                                                Antonio Vitolo




                                            5

Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 5 of 38 PageID #: 64
EXHIBIT 1
                    COVID-19 relief options and additional resources: LEARN MORE       MENU




  PRESS RELEASE


SBA Administrator Guzman Announces
Application Opening for $28.6 Billion
Restaurant Revitalization Fund
Fund prioritizes direct relief to women, veterans, and socially and economically disadvantaged
individuals, and includes $9.5 billion in set-asides for smaller businesses

April 27, 2021 | Release Number 21-33



Contact U.S. Small Business Administration at Press_Office@sba.gov




WASHINGTON - SBA Administrator Isabella Casillas Guzman today announced the U.S. Small
Business Administration will begin registrations on Friday, April 30, 2021, at 9 a.m. EDT and open
applications on Monday, May 3, 2021, at noon EDT for the Restaurant Revitalization Fund. The
online application will remain open to any eligible establishment until all funds are exhausted.

“Restaurants are the core of our neighborhoods and propel economic activity on main streets
across the nation. They are among the businesses that have been hardest hit and need support to
survive this pandemic. We want restaurants to know that help is here,” said Administrator Guzman.
“The SBA has focused on the marketplace realities of our food and beverage businesses in
designing the Restaurant Revitalization Fund to meet businesses where they are. And we are      Back
                                                                                               to Top
  Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 6 of 38 PageID #: 65
committed to equity to ensure our smaller and underserved businesses, which have suffered the
                   COVID-19 relief options and additional resources: LEARN MORE   MENU
most, can access this critical relief, recover, and grow more resilient.”

Established under the American Rescue Plan, and signed into law by President Joe Biden on March
11, 2021, the Restaurant Revitalization Fund provides a total of $28.6 billion in direct relief funds to
restaurants and other hard-hit food establishments that have experienced economic distress and
significant operational losses due to the COVID-19 pandemic. This program will provide restaurants
with funding equal to their pandemic-related revenue loss up to $10 million per business and no
more than $5 million per physical location. Funds must be used for allowable expenses by March
11, 2023.

“Recognizing the great urgency to help restaurants keep their doors open – and with a clear
mandate from Congress – the SBA worked at a breakneck speed and is excited to launch this
program,” said Patrick Kelley, SBA Associate Administrator, Office of Capital Access. “From day one,
we engaged with diverse stakeholders in the food industry community to make sure we built and
delivered the program equitably, quickly, and efficiently.”

In preparation, the SBA recommends qualifying applicants familiarize themselves with the
application process in advance to ensure a smooth and efficient application experience,
specifically by:

    Registering for an account in advance at restaurants.sba.gov starting Friday, April 30, 2021, at 9
    a.m. EDT.
    Reviewing the official guidance, including program guide, frequently asked questions, and
    application sample.
    Preparing the required documentation.
    Working with a point-of-sale vendor or visiting restaurants.sba.gov to submit an application
    when the application portal opens. [Note: If an applicant is working with a point-of-sale vendor,
    they do not need to register beforehand on the site.]
    Attending a live recorded virtual training webinar.
            Tuesday, April 27 | 2:30 p.m. EDT | Register here
            Wednesday, April 28 | 1 p.m. EDT | Register here
            Wednesday, April 28 | 2:30 p.m. EDT | Register here

For the first 21 days that the program is open, the SBA will prioritize funding applications from
businesses owned and controlled by women, veterans, and socially and economically
                                                                                               Back
disadvantaged individuals. All eligible applicants are encouraged to submit applications as soon  as
                                                                                              to Top
  Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 7 of 38 PageID #: 66
the portal opens. Following the 21 days, all eligible applications will be funded on a first-come,
                    COVID-19 relief options and additional resources: LEARN MORE          MENU
first-served basis.

Consistent with the legislation and the intent of Congress, the SBA continues to take steps to
ensure the equitable distribution of relief, particularly for the smallest businesses, by creating a
$9.5 billion set-aside: $5 billion for applicants with 2019 gross receipts of not more than $500,000;
$4 billion is set aside for applicants with 2019 gross receipts from $500,001 to $1,500,000; and $500
million for applicants with 2019 gross receipts not more than $50,000.

For more information, visit sba.gov/restaurants or in Spanish at sba.gov/restaurantes.

###

About the U.S. Small Business Administration
The U.S. Small Business Administration makes the American dream of business ownership a
reality. As the only go-to resource and voice for small businesses backed by the strength of the
federal government, the SBA empowers entrepreneurs and small business owners with the
resources and support they need to start and grow their businesses. It delivers services to people
through an extensive network of SBA field offices and partnerships with public and private
organizations. To learn more, visit www.sba.gov.




Related programs: Disaster, RRF




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                                                                                                  Back
                                                                                                 to Top
  Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 8 of 38 PageID #: 67
                          Sign
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                                                                                                 Back
                                                                                                to Top
Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 9 of 38 PageID #: 68
EXHIBIT 2




       Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 10 of 38 PageID #: 69
                                           Restaurant Revitalization Funding Application                          EXHIBIT 3
               For a nonprofit organization, the officers and directors of the Applicant.
     4.   Principal Name. Insert the full name of the Principal.
     5.   Principal Position.                                                   -employed individual; independent contractor; sole
          proprietor; general partner; owner; officer; director; member; or key employee.

Affiliate/Affiliated Business: An Affiliated Business or affiliate is a business in which an eligible entity has an equity interest or right to
profit distributions of not less than 50 percent, or in which an eligible entity has the contractual authority to control the direction of the
business, provided that such affiliation shall be determined as of any arrangements or agreements in existence as of March 13, 2020.

Priority in Awarding Restaurant Revitalization Funds: To be eligible for priority in awarding Restaurant Revitalization Funds, Applicants
must self-certify that they meet the definition of any of the following priority Applicants:
          A small business concern owned and controlled by veterans is a business concern (a business entity organized for profit, with
          a place of business located in the United States, and which operates primarily in the United States) that is considered small in
                                                   13 CFR § 121.201 and is at least 51 percent owned by one or more veterans, and the
          management and daily business operations of the Applicant are controlled by one or more veterans. A veteran is defined as a
          person who served in the active military, naval, or air service, and who was discharged or released under conditions other than
          dishonorable.
          A small business concern owned and controlled by women is a business concern (a business entity organized for profit, with a
          place of business located in the United States, and which operates primarily in the United States) that is considered small in
                                                   13 CFR § 121.201 and is at least 51 percent owned by one or more women, and the
          management and daily business operations of the Applicant are controlled by one or more women.
          A small business concern owned and controlled by socially and economically disadvantaged individuals is a business concern
          (a business entity organized for profit, with a place of business located in the United States, and which operates primarily in the
          United States)                                                                         13 CFR § 121.201 and is at least 51 percent
          owned by one or more socially and economically disadvantaged individuals, an Alaska Native Corporation, an economically
          disadvantaged Indian tribe, or an economically disadvantaged Native Hawaiian Organization, and the management and daily
          business operations of the Applicant are controlled by one or more socially and economically disadvantaged individuals, an
          Alaska Native Corporation, an economically disadvantaged Indian tribe, or an economically disadvantaged Native Hawaiian
          Organization. Socially disadvantaged individuals are those who have been subjected to racial or ethnic prejudice or cultural bias
          because of their identity as a member of a group without regard to their individual qualities. Individuals who are members of
          the following groups are presumed to be socially disadvantaged: Black Americans; Hispanic Americans; Native Americans
          (including Alaska Natives and Native Hawaiians); Asian Pacific Americans; or Subcontinent Asian Americans. Economically
          disadvantaged individuals are those socially disadvantaged individuals whose ability to compete in the free enterprise system
          has been impaired due to diminished capital and credit opportunities as compared to others in the same business area who are
          not socially disadvantaged. In assessing economic disadvantage, SBA will look at whether the net worth of the individual claiming
          disadvantage is less than $750,000, excluding his or her ownership interest in the Applicant, primary personal residence,
          contingent liabilities, funds invested in an official retirement account, or income received from an S-corporation, LLC, or
          partnership if the individual provides documentation that the income was reinvested in the firm. SBA will also look at whether
          the adjusted gross income of the individual averaged over the preceding three years exceeds $350,000. Income received from
          an S-corporation, LLC or partnership that is reinvested in the firm or used to pay taxes arising in the normal operations of the
          firm is excluded. Finally, SBA will look at                                                                                his or her
          ownership interest in the Applicant, primary personal residence, or funds invested in an official retirement account) exceeds $6
          million. An individual who exceeds any of these thresholds for net worth, personal income, or total assets will generally be
          deemed to not be economically disadvantaged.
          SBA will consider an applicant to meet the definition of a small business concern owned and controlled by women, veterans, or
          socially and economically disadvantaged individuals if the applicant is a small business concern that is at least 51 percent owned by
          one or more individuals who are women, veterans, or socially and economically disadvantaged and if the management and daily
          business operations of the applicant are controlled by one or more women, veterans, or socially and economically disadvantaged
          individual. For example: An applicant has five owners who each own 20 percent of the applicant. Two owners are veterans and
          one owner is a socially and economically disadvantaged individual. SBA will consider this applicant to meet the requirement that
          at least 51 percent of the applicant is owned by a priority group.
          If an individual meets the requirements of more than one priority group category, that individual is only counted once. For
          example: An applicant has five owners who each own 20 percent of the applicant. One of the owners is a woman veteran who is a
          socially and economically disadvantaged individual; however, none of the remaining four owners are a woman, veteran, or
          socially and economically disadvantaged individual. This applicant is not eligible to file an application as a priority group applicant.



SBA Form 3172 (04-21)                                                                                                               Page 13
Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 11 of 38 PageID #: 70
EXHIBIT 4




        Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 12 of 38 PageID #: 71
         EXHIBIT 5




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 13 of 38 PageID #: 72
          EXHIBIT 6

   From: Small Business Administration <news@updates.sba.gov>
   Date: May 4, 2021 at 6:01:22 PM EDT
   To:
   Subject: RRF: What to Expect Next
   Reply-To: news@updates.sba.gov




         Thank you for your interest in the Restaurant Revitalization Fund program.
         Regardless of where you are in the application process, please review the
         following reminders and helpful hints about moving forward:

         What to expect next:

             1. As outlined by Congress, the SBA will focus their reviews on the priority
                applications that have been submitted. Applicants who have submitted a
                non-priority application will find their applications remain in a Review




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 14 of 38 PageID #: 73
               status while the priority applications are processed during the first 21
               days. Applicants in this status should not anticipate any outreach from
               the SBA during this period.
           2. Following a successful application submission, all applications will first
              enter a stage called “IRS verification”. This process may take up to
              seven days and allows the SBA to validate your application submission.
           3. If you have questions about the award calculation, see the program
              guide, pages 7–9.
           4. The 4506T form is signed with your application during the e-sign
              process. You do not need to submit an additional 4506T.
           5. If you are entering a state in the address section(s) use the abbreviation
              in capital letters (e.g., PA, TX, ME, WA, etc.).
           6. For application support, you may submit a message using the platform
              inbox. For quick answers, this may be your best route.
        As a reminder, per federal award program guidelines that require the same and
        equal information be provided to each applicant, SBA’s team members are
        limited on responses they can provide to applicants, including specific
        questions regarding RRF eligibility, potential award amount, and other detailed
        information.

        Thank you,
        SBA Restaurant Revitalization Fund Program




                      I.      U.S. Small Business Administration
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Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 15 of 38 PageID #: 74
      Unsubscribe | Update your subscriptions or modify your password/email address at any time on
      your Subscriber Preferences Page.

      All SBA programs and services are provided on a nondiscriminatory
      basis. Reasonable accommodations will be made if requested at least two weeks in advance

   This email was sent to by Small Business Administration (SBA) · 409 3rd St, SW · Washington DC 20416 · 1-800-
   827-5722




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 16 of 38 PageID #: 75
EXHIBIT 7           COVID-19 relief options and additional resources: LEARN MORE   MENU


    Back to all topics




Restaurant Revitalization Fund
This program provides emergency assistance for eligible restaurants, bars, and other
qualifying businesses impacted by COVID-19.




Content
Program details
Supplemental documents
Get help with your application
Who can apply
How to apply
When to apply
Set asides
Funding amount
Allowable use of funds
What to expect after you have applied
Information about RRF in other languages




                                         APPLY NOW




Applications are now open. See How to apply for more detail.


 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 17 of 38 PageID #: 76
This application can be filled out in Spanish if your internet browser is set to display in Spanish. To
                     COVID-19 relief options and additional resources: LEARN MORE          MENU
do this, set your browser’s language setting (typically found under “Advanced Settings”) to
Spanish. Most browsers will require a restart to display in that language.



Program details
The American Rescue Plan Act established the Restaurant Revitalization Fund (RRF) to provide
funding to help restaurants and other eligible businesses keep their doors open. This program will
provide restaurants with funding equal to their pandemic-related revenue loss up to $10 million
per business and no more than $5 million per physical location. Recipients are not required to
repay the funding as long as funds are used for eligible uses no later than March 11, 2023.

Sign up to receive email alerts from SBA as additional information about the Restaurant
Revitalization Fund becomes available.



Supplemental documents
    Restaurant Revitalization Fund program guide
    Restaurant Revitalization Fund sample application (SBA Form 3172)



Get help with your application
Federal guidelines require that we provide the same and equal information to each applicant.
Therefore, SBA staff are limited on responses we can provide to applicants, including specific
questions regarding RRF eligibility, potential award amount, and other detailed information. Some
key information to know:

    For detailed information about how to calculate your award amount, please consult page 7-9
    of the RRF program guide.
    The IRS 4506T form is signed with your application during the e-sign process. You do not need
    to submit an additional 4506T.
    If you are entering a state in the address section(s) use the abbreviation in capital letters (e.g.,
    PA, TX, ME, WA, etc.).

 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 18 of 38 PageID #: 77
                   COVID-19 relief options and additional resources: LEARN MORE         MENU
For assistance preparing your application, you can access the following:

   RRF knowledge base support documentation
   Application portal screenshots
   Call center support: 844-279-8898




You can also watch a previously recorded webinar training to help you prepare:

   Webinar: Special briefing on RRF with SBA and Public Private Strategies Institute
   Webinar: Learn how to apply for RRF




For assistance with your submitted application:

   Submit a message using the application platform inbox (preferred)
   Call center support: 844-279-8898



Who can apply

Eligible entities who have experienced pandemic-related revenue loss include:

   Restaurants
   Food stands, food trucks, food carts
   Caterers
   Bars, saloons, lounges, taverns
   Snack and nonalcoholic beverage bars
   Bakeries (onsite sales to the public comprise at least 33% of gross receipts)
   Brewpubs, tasting rooms, taprooms (onsite sales to the public comprise at least 33% of gross
   receipts)
   Breweries and/or microbreweries (onsite sales to the public comprise at least 33% of gross
   receipts)
   Wineries and distilleries (onsite sales to the public comprise at least 33% of gross receipts)
 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 19 of 38 PageID #: 78
   Inns (onsite sales of food and beverage to the public comprise at least 33% of gross receipts)
                    COVID-19 relief options and additional resources: LEARN MORE      MENU
   Licensed facilities or premises of a beverage alcohol producer where the public may taste,
   sample, or purchase products

Cross-program eligibility on SBA COVID-19 relief options



How to apply
You can apply through SBA-recognized Point of Sale (POS) vendors or directly via SBA in a
forthcoming online application portal: https://restaurants.sba.gov. Participating POS providers
include Square, Toast, Clover, NCR Corporation (Aloha), and Oracle. If you are working with Square
or Toast, you do not need to register beforehand on the https://restaurants.sba.gov application
portal.

Registration with SAM.gov is not required. DUNS or CAGE identifiers are also not required.

If you would like to prepare your application, view the sample application form. You will be able to
complete this form online. Please do not submit RRF forms to SBA at this time.

SBA Form 3172

Additional documentation required:

   Verification for Tax Information: IRS Form 4506-T, completed and signed by Applicant.
   Completion of this form digitally on the SBA platform will satisfy this requirement.
   Gross Receipts Documentation: Any of the following documents demonstrating gross receipts
   and, if applicable, eligible expenses
            Business tax returns (IRS Form 1120 or IRS 1120-S)
            IRS Forms 1040 Schedule C; IRS Forms 1040 Schedule F
            For a partnership: partnership’s IRS Form 1065 (including K-1s)
           Bank statements
           Externally or internally prepared financial statements such as Income Statements or
           Profit and Loss Statements
           Point of sale report(s), including IRS Form 1099-K

For applicants that are a brewpub, tasting room, taproom, brewery, winery, distillery, or bakery:

 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 20 of 38 PageID #: 79
   Documents evidencing that onsite sales to the public comprise at least 33.00% of gross receipts
                   COVID-19 relief options and additional resources: LEARN MORE     MENU
   for 2019, which may include Tax and Trade Bureau (TTB) Forms 5130.9 or TTB. For businesses
   who opened in 2020, the Applicant’s original business model should have contemplated at
   least 33.00% of gross receipts in onsite sales to the public.

For applicants that are an inn:

   Documents evidencing that onsite sales of food and beverage to the public comprise at least
   33.00% of gross receipts for 2019. For businesses who opened in 2020, the Applicant’s original
   business model should have contemplated at least 33.00% of gross receipts in onsite sales to
   the public.



When to apply

Applications are now open.




   Priority period

   Days 1 through 21




   SBA will accept applications from all eligible applicants, but only process and fund priority
   group applications. See “Priority groups” below.

   During this period, SBA will fund applications where the applicant has self-certified that it
   meets the eligibility requirements for a small business owned by women, veterans, or
   socially and economically disadvantaged individuals.

   See “Set asides” below.




   Open to all applicants
 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 21 of 38 PageID #: 80
   Days 22 through funds exhaustion
                    COVID-19 relief options and additional resources: LEARN MORE        MENU



   SBA will accept applications from all eligible applicants and process applications in the
   order in which they are approved by SBA.




Priority groups

   A small business concern that is at least 51 percent owned by one or more individuals who are:
          Women, or
          Veterans, or
          Socially and economically disadvantaged (see below).
   Applicants must self-certify on the application that they meet eligibility requirements
   Socially disadvantaged individuals are those who have been subjected to racial or ethnic
   prejudice or cultural bias because of their identity as a member of a group without regard to
   their individual qualities.
   Economically disadvantaged individuals are those socially disadvantaged individuals whose
   ability to compete in the free enterprise system has been impaired due to diminished capital
   and credit opportunities as compared to others in the same business area who are not socially
   disadvantaged.



Set asides
 1. $5 billion is set aside for applicants with 2019 gross receipts of not more than $500,000
 2. An additional $4 billion is set-aside for applicants with 2019 gross receipts from $500,001 to
   $1,500,000
 3. An additional $500 million is set-aside for applicants with 2019 gross receipts of not more than
   $50,000

*SBA reserves the right to reallocate these funds at the discretion of the Administrator.



Funding amount
 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 22 of 38 PageID #: 81
Payment calculations
                    COVID-19 relief options and additional resources: LEARN MORE       MENU
For detailed information about how to calculate your award amount, please consult page 7-9 of
the RRF program guide.

Calculation 1: for applicants in operation prior to or on January 1, 2019:

   2019 gross receipts minus 2020 gross receipts minus PPP loan amounts




Calculation 2: for applicants that began operations partially through 2019:

   (Average 2019 monthly gross receipts x 12) minus 2020 gross receipts minus PPP loan amounts




Calculation 3: for applicants that began operations on or between January 1, 2020 and March 10,
2021 and applicants not yet opened but have incurred eligible expenses:

   Amount spent on eligible expenses between February 15, 2020 and March 11, 2021 minus
   2020 gross receipts minus 2021 gross receipts (through March 11, 2021) minus PPP loan
   amounts

For those entities who began operations partially through 2019, you may elect (at your own
discretion) to use either calculation 2 or calculation 3.

Maximum and minimum amounts

SBA may provide funding up to $5 million per location, not to exceed $10 million total for the
applicant and any affiliated businesses. The minimum award is $1,000.

Gross receipts

For the purposes of this program, gross receipts does not include:

   Amounts received from Paycheck Protection Program (PPP) loans (First Draw or Second Draw)
   Amounts received from Economic Injury Disaster Loans (EIDL)
   Advances on EIDL (EIDL Advance and Targeted EIDL Advance)
   State and local grants (via CARES Act or otherwise)
 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 23 of 38 PageID #: 82
   SBA Section 1112 payments
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Allowable use of funds
Funds may be used for specific expenses including:

   Business payroll costs (including sick leave)
   Payments on any business mortgage obligation
   Business rent payments (note: this does not include prepayment of rent)
   Business debt service (both principal and interest; note: this does not include any prepayment
   of principal or interest)
   Business utility payments
   Business maintenance expenses
   Construction of outdoor seating
   Business supplies (including protective equipment and cleaning materials)
   Business food and beverage expenses (including raw materials)
   Covered supplier costs
   Business operating expenses



What to expect a er you have applied
   As outlined by Congress, SBA will review applications from priority applications groups first.
   Applicants who have submitted non-priority applications will remain in "Review" status
   while priority applications are processed during the first 21 days. We do not anticipate
   communicating with applicants in "Review" status during this period.
   Following a successful application submission, all applications will enter “IRS verification”
   status. This process may take up to seven days and allows the SBA to validate your application
   submission.



Information about RRF in other languages

RRF applications must be submitted in English or Spanish. We provide documents in additional
languages to help you understand eligibility requirements, fill out applications, and answer
frequently asked questions.
 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 24 of 38 PageID #: 83
                  COVID-19 relief options and additional resources: LEARN MORE   MENU
 Español




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 中文简体




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 Italiano


Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 25 of 38 PageID #: 84
 日本語
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 한국어




 Polski




 Português




 русский




 Tagalog




 Tiếng Việt




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Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 26 of 38 PageID #: 85
 Kiswahili
                 COVID-19 relief options and additional resources: LEARN MORE   MENU



 Lea Fakatonga




 Fosun Chuuk




 Kajin Majõl




 Fa’a Samoa




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 Bahasa Indonesia




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 Bahasa Melayu




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Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 27 of 38 PageID #: 86
   Lus Hmoob
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Next

  Cross-program eligibility                                                              




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 Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 28 of 38 PageID #: 87
               COVID-19 relief options and additional resources: LEARN MORE              MENU

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Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 29 of 38 PageID #: 88
   EXHIBIT 8
   From: Small Business Administration <news@updates.sba.gov>
   Date: May 7, 2021 at 7:49:03 PM EDT
   To:
   Subject: PPP and RRF Updates
   Reply-To: news@updates.sba.gov

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      The SBA began accepting applications for the Restaurant Revitalization Fund (RRF)
      on Monday, May 3. In the first two days of the RRF application window, the SBA
      has received:

             186,200 applications from restaurants, bars, and other eligible businesses in
              all 50 states, Washington, D.C., and five U.S. Territories.
             97,600 applications of which came from restaurants, bars, and other eligible
              businesses owned and controlled by women (46,400), veterans (4,200),




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 30 of 38 PageID #: 89
             socially and economically disadvantaged individuals (30,800), or some
             combination of the three (16,200).
            61,700 applications from businesses with under $500,000 in annual pre-
             pandemic revenue, representing some of the smallest restaurants and bars in
             America.
      The SBA is still accepting applications. For more information and how to apply, visit
      sba.gov/restaurants.




      The SBA is currently offering PPP loans originated only by participating community
      financial institutions including Certified Development Companies (CDCs), SBA
      Microlenders, Community Development Financial Institutions (CDFIs), and Minority
      Depository Institutions (MDIs) until May 31, 2021 or until remaining funds are
      exhausted. Please note that not all community financial institutions are participating
      in PPP.

      Learn more




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 31 of 38 PageID #: 90
      SBA and Public Private Strategies Institute are providing several educational
      opportunities for you to learn more about programs that will help your business get
      back on track. On Tuesday, May 11 at 1pm ET, the Office of International Trade will
      present a webinar on programs that could help your business grow by connecting
      you with international trade opportunities.

      Join SBA, Public Private Strategies Institute, and other stakeholders to hear about:

            Steps you can take now to connect to the Office of International Trade
            What SBA exporting assistance programs your business may qualify for
            International trade success stories
      Register for the webinar




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 32 of 38 PageID #: 91
      May is World Trade Month and the SBA has teamed up with partnering organizations
      to offer webinars all month to help small business owners gain valuable insights on
      strategies for international sales success. All webinars begin at 2:00 p.m. EDT.

            May 12 | SBA Support for Commercializing Innovation | Register here
            May 18 | Going Global with Trade Agreements | Register here
            May 20 | Utilizing eCommerce Tools to Drive Global Sales | Register here
            May 25 | Business Beyond Borders: Commemorating World Trade Month |
             Register here
            May 27 | Logistics of Growing Global eCommerce | Register here




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 33 of 38 PageID #: 92
      The SBA is currently accepting applications for the Shuttered Venue Operators
      Grant. To submit an application, visit sba.gov/svogrant.




      Save the date! The SBA will host an online panel discussion on May 27, 2021 with
      Asian American/Pacific Islander-owned small businesses as they share their small




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 34 of 38 PageID #: 93
      business stories and how they pivoted during the pandemic and utilized SBA’s critical
      financial lifelines.

      The SBA will also share resources available to help AAPI entrepreneurs launch new
      businesses, compete in the marketplace, and connect with the training and funding
      opportunities to help recover and rebuild.

      Registration will be available soon.



                                   I.  Be Inspired: Small Business
                                   Success Story
                                   During Asian American and Native Hawaiian/Pacific
                                   Islander Heritage Month, we’re highlighting inspiring
                                   people like Lisa Chin who are making a big impact on
                                   the economy and their communities.
      In 1988, a group of Seattle-based social workers founded the nonprofit organization
      Treehouse on the belief that kids in foster care deserve a community that is
      committed to their success. Funded by bake sales and car washes, they started
      small, purchasing little things such as birthday presents and school supplies.
      Learn more



                                   II. Webinar: How to Market Your
                                   Federal Contract
                                   May 13 | 2:00 p.m. EDT
                                   There are many opportunities available in the federal
                                   procurement market. Developing a federal marketing
                                   and sales strategy can help you achieve success in the
                                   federal sector. Join the U.S. General Services
                                   Administration for a webinar about tips on creating a
                                   federal marketing strategy.
      Register




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 35 of 38 PageID #: 94
      The SBA recently launched the Shuttered Venue Operators Grant and Restaurant
      Revitalization Fund. Bad actors may take this opportunity to impersonate lenders or
      government officials in emails, robocalls, social media accounts and phony websites.
      Their goal is to attract victims and commit fraud, scams and schemes. The result is
      financial or personally identifiable information (PII) loss for the victims.

      As a reminder, the SBA directly communicates from email addresses ending in
      @sba.gov. The SBA also communicates via email updates/notifications using an
      email marketing platform, (the same one you are receiving this newsletter from).
      Those emails end in @updates.sba.gov.

      If you applied for the Shuttered Venue Operators Grant and emailed the SVOG
      Support Center, you may receive an email back from a zendesk.com account. This
      is an authorized SBA contractor.

      If you are being contacted by someone claiming to be from the SBA who is not using
      an official SBA email address, you should suspect fraud. To report potential fraud,
      visit sba.gov/covidfraudalert.




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 36 of 38 PageID #: 95
                              III.   Federal Coronavirus Resources
                              State, local, and federal agencies are working together
                              to maintain the safety, security, and health of the
                              American people. Check out coronavirus.gov for
                              updates from the White House's COVID-19 Task
                              Force. Go to cdc.gov for detailed information about
                              COVID-19 from the Centers for Disease Control and
                              Prevention. Visit covid-sb.org, the official federal
                              resource website for U.S. small businesses affected by
      COVID-19.
      Learn more about the federal government's response



                              IV.    Virtual Mentoring and Training
                              Offices around the country may be closed due to the
                              pandemic, but SCORE, Small Business Development
                              Centers, Women’s Business Centers, Veterans Business
                              Outreach Centers and other resource partners are
                              providing free business mentoring and training by phone,
                              email, and video.
                              Find an SBA resource partner near you




Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 37 of 38 PageID #: 96
                                 V.        U.S. Small Business Administration
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      All SBA programs and services are provided on a nondiscriminatory
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Case 3:21-cv-00176-TRM-DCP Document 12-3 Filed 05/12/21 Page 38 of 38 PageID #: 97
